Case 6:14-cr-00080-PGB-T_S Document 35 Filed 05/08/14 Page 1 of 2 PageID 71




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


  UNITED STATES OF AMERICA

  v.                                                              6:14-cr-80-ORL-36TBS

  BRIAN NEWTON
  ______________________________

                                             ORDER

         Pending before the Court is Defendant Brian Newton’s Motion Authorizing Funds

  for Copies (Doc. 32). The 25 count indictment alleges that Defendant and Co-Defendant

  Victoria Snow conspired to commit mail and wire fraud. (Doc. 1). On April 17, 2014, the

  Court appointed CJA counsel to represent Defendant. (Doc. 25).

         Defendant’s lawyer represents that discovery is voluminous and that the cost of

  printing copies is approximately $1,700. (Doc. 32). Defendant is moving the Court for an

  Order authorizing funds to pay for the copies. (Id.).

         Title 18 U.S.C. § 3006A(e)(1) provides that a person who is financially unable to

  pay for services necessary for adequate representation may request the funds in an ex

  parte application. Defense counsel represents that copies of the discovery are needed

  so that she may diligently represent her client. (Id.).

         Upon due consideration, the motion is GRANTED. Counsel for Defendant is

  authorized to incur up to a maximum of $1,700 in printing costs to obtain a copy of the

  discovery in this case.

         IT IS SO ORDERED.
Case 6:14-cr-00080-PGB-T_S Document 35 Filed 05/08/14 Page 2 of 2 PageID 72




        DONE AND ORDERED in Orlando, Florida, on May 8, 2014.




  Copies to all Counsel
